                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 12-3066-07-CR-S-RTD
                                                    )
JOSE VAZQUEZ,                                       )
                                                    )
                          Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One and

admitted to Forfeiture Allegation contained in the Third Superseding Indictment filed on June 12,

2013, is now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be

set by subsequent Order of the Court.




                                                           /s/ Robert T. Dawson
                                                          ROBERT T. DAWSON
                                                    UNITED STATES DISTRICT JUDGE




Date: February 11, 2014




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